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AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District
                                                              for the
                                                                                                lOER SEAL
                                                  Northern District of California


                  United States of America
                               V.
                                                                                                                          JCS
                       Ridhima Singh,
                                                                         Case No.          3       19 71430
                                                                                                                          "A
                                                                                                                         4 ^
                          Defendant(s)
                                                                                                                               -




                                               CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and
On or about the date(s) of                January 24, 2013              in the county of              San Francisco                in the

     Northern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C.§ 1001(a)                            False Statements Act;

18 U.S.C.§ 1512(b)(3)                        Tampering with a witness, victim, or an informant; and

42U.S.C. § 1320a-7b(b)                        Criminal penalties for acts involving Federal health care "Anti-Kickback
                                              Statute."




         This criminal complaint is based on these facts:

Please see attached affidavit.




         fff Continued on the attached sheet.
Approved as to form:

                                                                                               complainant's signature
WILLIAM FRENTZEN
                                                                                Katelyn McKendrick, Special Agent - FBI
Assistant United States Attorney
                                                                                               Printed name and title


Sworn to before me and signed in my presence.


Date:
                                                                                                 Judge's signature

City and state:                  San Francisco, California                Hon. Joseph C. Spero, U.S. Chief Magistrate Judge
                                                                                               Primed name and title
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